Case 10-37875-KRH          Doc 39     Filed 12/22/14 Entered 12/22/14 14:23:41                  Desc Main
                                      Document Page 1 of 3


                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF VIRGINIA
                                     RICHMOND DIVISION


IN RE:                                                       CASE NO. 10-37875-KRH
                                                             CHAPTER 13
John Edward Small, Jr.
                                                             JUDGE KEVIN R. HUENNEKENS

         DEBTOR                                              NOTICE OF FINAL CURE PAYMENT


Pursuant to Federal Rule of Bankruptcy Procedure 3002.1(f), the Chapter 13 Trustee, Carl M. Bates files
this Notice of Final Cure Payment. The amount required to cure the default in the claim listed below has
been paid in full.

Name of Creditor: JPMorgan Chase Bank, N.A.



Final Cure Amount

Court   Account                                  Claim               Claim               Amount
Claim # Number                                   Asserted            Allowed             Paid

   8      2957                                   $5,224.16           $5,224.16           $5,984.81

Total Amount Paid by Trustee                                                             $5,984.81


Monthly Ongoing Mortgage Payment

Mortgage is Paid:

     Through the Chapter 13 Conduit                   X Direct by the Debtor


Within 21 days of the service of the Notice of Final Cure Payment, the creditor MUST file and serve a
Statement as a supplement to the holder’s proof of claim on the Debtor, Debtor's Counsel and the
Chapter 13 Trustee, pursuant to Fed.R.Bank.P.3002.1(g), indicating 1) whether it agrees that the Debtor
has paid in full the amount required to cure the default on the claim; and 2) whether the Debtor is
otherwise current on all payments consistent with 11 U.S.C. § 1322(b)(5).

The statement shall itemize the required cure or post-petition amounts, if any, that the holder contends
remain unpaid as of the date of the statement. The statement shall be filed as a supplement to the
holder’s proof of claim and is not subject to Rule 3001(f). Failure to notify may result in sanctions.

Date: December 22, 2014                                        /s/ Carl M. Bates
Case 10-37875-KRH   Doc 39   Filed 12/22/14 Entered 12/22/14 14:23:41   Desc Main
                             Document Page 2 of 3


                                              Carl M. Bates
                                              Chapter 13 Trustee
                                              Chapter 13 Trustee
                                              P.O. Box 1819
                                              Richmond, VA 23218
Case 10-37875-KRH         Doc 39     Filed 12/22/14 Entered 12/22/14 14:23:41                Desc Main
                                     Document Page 3 of 3


                                                                             CASE NO. 10-37875-KRH


                                    CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing Notice of Final Cure Payment was served on the parties
listed below by ordinary U.S. Mail or served electronically through the Court’s ECF System at the e-mail
address registered with the Court on this 22nd day of December, 2014.


John Edward Small, Jr., 2408 Bainbridge Street, Richmond, VA 23225


ELECTRONIC SERVICE - ABIGAIL S. PHILLIPS, Phillips & Fleckenstein Pc, 311 South Boulevard,
Richmond, VA 23220


JPMorgan Chase Bank, N.A., 3415 Vision Drive, Columbus, OH 43219


ELECTRONIC SERVICE - United States Trustee


Date: December 22, 2014                                      /s/ Carl M. Bates
                                                             Carl M. Bates
                                                             Chapter 13 Trustee
                                                             Chapter 13 Trustee
                                                             P.O. Box 1819
                                                             Richmond, VA 23218
